                                   UNITED STATES BANKRUPTCY COURT

                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: William Sullivan, Jr.                             ) Chapter 13

                                                         ) Bankruptcy No. 23-12347

                 Debtor(s) )

               MOTION TO VACATE DISMISSAL ORDER AND REINSTATE CASE

        Debtor William Sullivan, Jr., by his counsel, Sharon S. Masters, Esquire, hereby moves
this Honorable Court for an Order vacating dismissal order and reinstating Chapter 13 case,
and in support thereof avers as follows:

        1. The debtor(s) filed this Chapter 13 bankruptcy petition on August 4, 2023.

        2. Debtor filed an Application to Pay Filing Fee in Installments, stating he would pay three
           monthly installments of $80 on September 1, October 1, November 1 and a payment of
           $73.00 on December 1, 2023.

        3. When Debtor did not pay the JSeptember 1, 2023 installment on time, a show cause hearing
           was scheduled for October 17, 2023. The payment was not made until October 19, 2023,
           and the case had already been dismissed.

        4. Debtor has the second and third installment payments of the filing fee and asks the Court to
           vacate dismissal order and reinstate the case. Debtor understands that he is responsible for
           pay the remaining installment payments on time.


               WHEREFORE, Debtor respectfully requests the Court grant the Motion to Vacate
            Dismissal Order and reinstate the Chapter 13 case.


            Dated: 11/6/2023                                        /s/ Sharon S. Masters
                                                                     Sharon S. Masters, Esq.
                                                                    Attorney for Debtor
